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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA          )
                                  )      CRIMINAL ACTION NO.
  v.                              )          2:05cr66-MHT
                                  )              (WO)
JOHN DARTER                       )


                                ORDER

    It is ORDERED that the revocation petition (doc.

no. 298) is set for an evidentiary hearing on July 13,

2015, at 10:00 a.m., in Courtroom 2FMJ of the Frank M.

Johnson   Jr.    United     States      Courthouse     Complex,        One

Church Street, Montgomery, Alabama.

    DONE, this the 7th day of July, 2015.

                                     /s/ Myron H. Thompson___
                                 UNITED STATES DISTRICT JUDGE
